Label Matrix for local noticing                      CoreFirst Bank & Trust                               The Young Men’s Christian Association o
1083-2                                               3035 SW Topeka Blvd.                                 3635 S.W. Chelsea Drive
Case 20-20786                                        Topeka, KS 66611-2122                                Topeka, KS 66614-3971
District of Kansas
Kansas City
Tue Jul 20 15:50:50 CDT 2021
Kansas City Divisional Office                        Capital Federal Savings Bank                         Century Business Techologies
161 Robert J. Dole US Courthouse                     700 S Kansas Ave                                     P O Box 2459
500 State Avenue                                     Topeka KS 66603-3894                                 Topeka KS 66601-2459
Kansas City, KS 66101-2448


City of Topeka                                       City of Topeka, Kansas                               Constellation NewEnergy - Gas Division, LLC
215 S.E. 7th Street                                  Shawnee County Planning Dept.                        1310 Point Street
Topeka KS 66603-3973                                 Attn: Chief Administrator                            12th Floor
                                                     1515 NW Saline St., Rm 102                           Baltimore, MD 21231-3380
                                                     Topeka, KS 66618-2869

Continental Research Corp                            CoreFirst Bank & Trust                               CoreFirst Bank & Trust, Bond Trustee for
P O Box 15204                                        Attn: Corporate Trust Dept.                          Economic Development Refunding Bonds Ser
Saint Louis MO 63110-0204                            3035 SW Topeka Blvd.                                 Riordan Fincher & Beckerman PA
                                                     Topeka, KS 66611-2122                                3735 SW Wanamaker Rd Suite A
                                                                                                          Topeka KS 66610-1396

Evergy Kansas Central Inc                            George K. Baum & Company                             GreatPlay North
f/k/a Westar Energy Inc                              Attn: Roger Edgar, Executive VP                      8533 SW 21st Street
%Bankruptcy Dept                                     4801 Main Street, Suite 500                          Topeka KS 66615-9266
PO Box 208                                           Kansas City, MO 64112-2551
Wichita KS 67201-0208

Inland Waste Solutions                               Internal Revenue Service                             R. Patrick Riordan
12600 Automobile Blvd                                Centralized Insolvency Operation                     Riordan Fincher & Beckerman PA
Clearwater FL 33762-4717                             PO Box 7346                                          3735 SW Wanamaker Road
                                                     Philadelphia, PA19101-7346                           Suite A
                                                                                                          Topeka KS 66610-1396

Sunflower Rental                                     The Young Men’s Christian Association o              U.S. Trustee
2010 S Topeka Boulevard                              % W Thomas Gilman                                    Office of the United States Trustee
Topeka KS 66612-1414                                 Hinkle Law Firm LLC                                  301 North Main Suite 1150
                                                     1617 N Waterfront Pkwy Ste 400                       Wichita, KS 67202-4811
                                                     Wichita KS 67206-6639

West Bend Mutual Ins Co                              Nicholas R Grillot                                   Robbin L Messerli
Bin 432                                              Hinkle Law Firm, LLC                                 6917 Tomahawk Rd
Milwaukee WI 53288-0432                              1617 N. Waterfront Parkway                           PO Box 8686
                                                     Suite 400                                            Prairie Village, KS 66208-0686
                                                     Wichita, KS 67206-6639

W. Thomas Gilman
 Hinkle Law Firm, L.L.C.
1617 N. Waterfront Parkway
Suite 400
Wichita, KS 67206-6639




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                                   Case 20-20786          Doc# 238-1          Filed 07/20/21        Page 1 of 2
(u)Constellation NewEnergy Gas Division, LLC   (u)Globic Advisors                           (u)Internal Revenue Service




(u)Nuveen Asset Management, LLC                (u)Sink, Gordon & Associates LLP             End of Label Matrix
                                                                                            Mailable recipients   24
                                                                                            Bypassed recipients    5
                                                                                            Total                 29




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